                         4:18-cv-04063-KLM # 167          Page 1 of 6
                                                                                                   E-FILED
                                                                   Friday, 25 February, 2022 09:18:24 PM
                                                                            Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

AARON O’NEAL,                                      )
                                                   )
                             Plaintiff,            )
                                                   )       Case No. 4:18-cv-04063-SEM-TSH
       v.                                          )
                                                   )       The Honorable Sue E. Myerscough
MANUEL ROJAS, et al.,                              )
                                                   )
                             Defendants.           )

               PLAINTIFF’S RESPONSE TO DEFENDANTS’
      MOTION FOR EXTENSION OF TIME TO FILE DISPOSITIVE MOTIONS

       NOW COMES Plaintiff, AARON O’NEAL, by and through his attorneys REEDE

NEUTZE and STEPHEN BEEMSTERBOER of the University of Illinois College of Law Federal

Civil Rights Clinic, and for his Response to Defendants’ Motion for Extension of Time to File

Dispositive Motions objects as follows:

   1. Plaintiff objects to Defendants’ Motion for Extension of Time to File Dispositive Motions.

   2. On July 20, 2020, Defendants Baldwin, Britton, Dorethy, Frost, Gans, Pelker (f/k/a

       Phoenix), and Rojas filed a Motion for Summary Judgment. (Doc. 121). On December 4,

       2020, this Court denied that motion as to the six defendants that now remain. (Doc. 137).

   3. The timeline of this matter has already been compromised by Defendants’ repeated delays,

       and they should not be given additional time to bring a second Motion for Summary

       Judgment.

   4. Plaintiff has extended many professional courtesies in the face of Defendants’ ongoing

       delays. On October 29, 2021, Plaintiff served requests for production of documents and

       interrogatories on each of the Defendants. On November 24, 2021, Plaintiff made no

       objection to Defendants’ Motion for Extension of Time to Complete Discovery. (Doc.

                                               1
                               4:18-cv-04063-KLM # 167                 Page 2 of 6




         157). On December 13, 2021, this Court granted Defendants’ Motion for Extension of

         Time to Complete Discovery, and responses were set to be served on December 23, 2021.

         On December 23, 2021, Plaintiff assented to Defendants’ request for an additional 7 days.

    5. Plaintiff, having still not received any discovery responses, requested updates as to the

         status of written discovery on January 11, 2022, and January 20, 2022. On January 21,

         2022, Defendants’ counsel advised that she would send anything completed thus far by

         January 25, 2022. Plaintiff did not receive any discovery responses on that date. On

         February 4, 2022, Plaintiff again requested an update on discovery responses.

    6. On February 8, 2022, Plaintiff filed a Motion to Compel due to Defendants’ failure to serve

         any discovery responses by the twice-extended deadline or the nearly six weeks that

         followed. (Doc. 164).

    7. On February 14, 2022, seven days after the discovery deadline, Plaintiff received

         interrogatory responses via email for Defendants Frost, Gans, Dorethy, Baldwin, and

         Pelker. Notably, the responses were riddled with “copy and paste” objections in lieu of

         substantive answers, which raises the question of why it took Defendants nearly four

         months to respond.

    8. On February 17, 2022, ten days after the discovery deadline, Plaintiff received

         interrogatory responses via email for Defendant Rojas, replete with the same

         nonresponsive objections.

    9. On February 22, 2022, the deadline for dispositive motions,1 Defendants’ counsel advised

         Plaintiff for the first time of her intention to file a second Motion for Summary Judgment




1
 The deadline had initially been set as February 21, 2022. Since that date was a federal holiday, the effective
deadline was February 22, 2022.

                                                          2
                     4:18-cv-04063-KLM # 167           Page 3 of 6




   and that she needed additional time to do so. Plaintiff indicated his opposition to the

   extension, and Defendants filed their Motion to Extend with the Court. (Doc. 165).

10. Defendants could have indicated their intent to file a second Motion for Summary

   Judgment and sought leave of court prior to the deadline for dispositive motions.

11. On February 24, 2022, Plaintiff received Defendants’ responses to requests for production

   of documents. Remarkably, Defendants objected to nearly every single request as

   overbroad. The only documents provided to Plaintiff were three job descriptions and a copy

   of the Chaplaincy Handbook. Once more, it is altogether puzzling that it took so many

   months for Defendants to object to Plaintiff’s written discovery requests, especially given

   the purported reason for the delay was to gather information to be disclosed.

12. Defendants’ repeated delays have prevented Plaintiff from submitting additional discovery

   requests and from adequately addressing Defendants’ frivolous objections to Plaintiff’s

   discovery requests, not to mention preparing for the upcoming trial.

13. Defendants’ counsel appears to be more focused on drafting a second Motion for Summary

   Judgment than working in earnest to provide substantive discovery responses. Plaintiff

   notes that, while Defendants’ counsel cited the medical lockdown at Hill Correctional

   Center as partly to blame for her failure to meet discovery expectations, it was Plaintiff’s

   counsel who contacted Hill to inquire about the status of the medical lockdown and

   informed Defendants’ counsel that it had been lifted.

14. With just over a month until trial and hardly any compliance with discovery, either in

   substance or timing, Defendants’ conduct and present attempt to further stall this matter

   smack of bad faith and unfair gamesmanship.




                                            3
                      4:18-cv-04063-KLM # 167            Page 4 of 6




15. Plaintiff also contests Defendants’ assertion that the recently completed depositions

   provide evidence supporting any basis for Defendants’ planned dispositive motion.

   Plaintiff reiterates that this Court has already denied summary judgment as to these

   defendants once before. Since any disputed facts are to be construed in the light most

   favorable to Plaintiff (as the nonmovant), any already-argued legal basis for summary

   judgment stands no chance of succeeding on the basis of newly proffered evidence. At this

   stage, Plaintiff is entitled to have these factual disputes resolved by a jury.

16. Further, the depositions Defendants have cited as reason to grant this extension were of

   Defendants themselves. To the extent that Defendants possessed previously undisclosed

   personal knowledge that would support a Motion for Summary Judgment in this matter,

   Defendants could have, at any earlier point in time, provided affidavits to convey that

   information in connection with such a motion. Defendants’ counsel has direct access to her

   clients and did not need to wait for their depositions to learn what they know and begin

   drafting a dispositive motion, let alone even longer for the transcripts.

17. To the extent that Defendants hope to argue a new legal basis for summary judgment,

   Plaintiff notes that “[s]ummary judgment is not tantamount to a game of preschool T-Ball

   allowing Defendants to keep swinging until they hit the ball (with advice from the Court

   after each miss).” Badger v. Greater Clark County Schools, 4:03-cv-00101, 2005 WL

   1320107, *1 (S.D. Ind. 2005). This Court has conducted a merit review, (Doc. 14), and

   denied Defendants’ first Motion for Summary Judgment, (Doc. 137), twice deciding this

   matter is fit to proceed to trial. After squandering the mutually agreed-upon time for

   making further dipositive motions and pointing to delays of their own making, Defendants

   should not be rewarded with additional time to take what would be a third bite at the apple.


                                              4
                         4:18-cv-04063-KLM # 167         Page 5 of 6




   18. Plaintiff’s counsel are willing to provide professional courtesies, and have done so on

       numerous occasions thus far, but Defendants’ efforts to delay this matter further with

       additional time to file a tenuous second Motion for Summary Judgment should be denied.



       WHEREFORE, and for the foregoing reasons, Plaintiff respectfully requests that this Court

deny Defendants’ Motion for Extension of Time to File Dispositive Motions and deem any Motion

for Summary Judgment filed as untimely.



                                                          Respectfully Submitted,

                                            By:           /s Reede Neutze
                                                          /s Stephen Beemsterboer
                                                          Attorneys for Plaintiff

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                                               5
                          4:18-cv-04063-KLM # 167         Page 6 of 6




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                              Plaintiff,            )
                                                    )      Case No. 4:18-cv-04063-SEM-TSH
         v.                                         )
                                                    )      The Honorable Sue E. Myerscough
MANUEL ROJAS, et al.,                               )
                                                    )
                              Defendants.           )

                                CERTIFICATE OF SERVICE

         I hereby certify that on February 25, 2022, I filed an electronic copy of the foregoing

Response to Defendants’ Motion for Extension of Time to File Dispositive Motions with the Clerk

of Court using the CM/ECF system, which will send notice of the same to Defendants’ attorneys

below:


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